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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                              14-CR-6136G


             -v-                                       GOVERNMENT'S TRIAL
                                                       MEMORANDUM

COLIN MONTAGUE a/k/a Uncle a/k/a C
SHELDON PALMER
CLUETH BURTON a/k/a Bobby,

                             Defendants.
_____________________________________________



      THE UNITED STATES OF AMERICA, by and through its attorney, James P.

Kennedy, Jr., United States Attorney for the Western District of New York, Robert A.

Marangola and Brett A. Harvey, Assistant United States Attorneys, of Counsel, hereby files

its Trial Memorandum.




                   OVERVIEW OF NARCOTICS CONSPIRACY


      This case involves a long-term, multi-agency wiretap investigation that targeted a

nationwide organization involved in the distribution of cocaine and cocaine base.       Colin

Montague was the head of a large and sophisticated cocaine distribution organization based in

Rochester, New York, and had numerous people working for him as members of the

organization, including Charlton Osbourne, Sheldon Palmer, Lemuel Jones, Alyssa Sprague,

Vidal Smith, Shawn Bernard and others. Antoine Shannon was one of Montague’s principal


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cocaine customers in the Rochester area. Shannon, in turn, supplied Collin Thomas with

cocaine, which Thomas cooked up into crack and sold to his customers. Joey Esposito, Akil

Lazarus, and Clueth Burton a/k/a Bobby were also supplied kilogram quantities of cocaine in

the Rochester area.



       The organization consisted of west coast suppliers located in California and Arizona,

along with Sheldon Palmer and other associates who coordinated the purchase and shipment of

kilogram quantities of cocaine to New York.         Various associates operating in Rochester

performed different but essential functions in order to enhance, promote and sustain the narcotics

conspiracy. These responsibilities included, for example, searching, renting and maintaining

apartments for packages of cocaine to be shipped to and stored; directing couriers to locations

when shipments of cocaine arrived; transporting cocaine shipments to others for distribution;

obtaining quantities of cash in exchange for cocaine; counting, packaging, transporting, and

shipping quantities of cash to California for future purchases of cocaine. The operation was

highly organized and compartmentalized and, ultimately, lucrative. The proceeds generated

from the sale of cocaine in Rochester, New York, over the course of the charged conspiracy

period climbed into the millions of dollars, and the amount of cocaine involved in the relevant

conduct far exceeds the 150-kilogram threshold under Title 21, United States Code, Section

848(e)(2) triggering mandatory life imprisonment, as well as the 5-kilogram threshold under Title

21, United States Code, Section 841(b)(1)(A) triggering either 10, or 20 year mandatory minimum

terms of imprisonment.




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       In December 2013, agents and investigators applied for the first of roughly 20 wiretaps

on cellular phones belonging to various members of the conspiracy, including Colin

Montague, Antoine Shannon, Lemuel Jones, Collin Thomas, Charlton Osbourne, and Alyssa

Sprague. Between December 2013 and June 2014, investigators intercepted thousands of

pertinent phone calls, many of which detailed the inner workings of the organization,

arrangement of meetings to discuss conspiracy business, locations of drug and money

transactions, etc. In addition to the wiretaps, investigators also placed several high definition

surveillance “pole” cameras at key locations, including outside the residence of Antoine

Shannon at 68 Leroy Street, Shannon’s mother’s residence at 55 Polaris Street, Lemuel Jones’

residence at 154 Park Avenue, a stash house at 151 Eugene Street, and three locations in

Scranton, Pennsylvania, that were being used to ship cocaine from California.



       At trial, the government intends to introduce numerous telephone calls and text

messages between the conspirators which were intercepted between December 2013 and June

2014. The calls and text messages involve conversations between and among several co-

conspirators, including Colin Montague, Charlton Osbourne, Sheldon Palmer, Antoine

Shannon, Joey Esposito, Lemuel Jones, Akil Lazarus, Alyssa Sprague, Jara Jenkins-

Carmichael, Vidal Smith, and Chrystine Martins. The government will also introduce text

messages obtained from seized cell phones. In connection with the calls and text messages,

the government will play pole camera video recordings which coincide with and/or

corroborate certain calls or events being proven to the jury, such as money being picked up

and/or cocaine being dropped off, as well as meetings to discuss upcoming shipments of

cocaine.

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       The investigation culminated in the interception of a series of telephone calls during

the last two weeks of June 2014 indicating that a fresh shipment of cocaine was about to be

transported to the Rochester area for Montague’s operation. Through the intercepted calls

and texts and surveillance, investigators were able to identify the car used to transport the

cocaine, and followed the car from Scranton, Pennsylvania, to the Rochester area where it

was finally stopped by police. Vidal Smith a/k/a “V” was the driver and sole occupant of

the car. Officers searched the car and found six kilograms of cocaine inside.



       After the seizure of six kilograms of cocaine from the car, numerous search warrants

were executed at the residences of Montague and several of his workers and customers.

During the course of these search warrants, and searches of other locations in the months

following the take-down, officers seized a large quantity of cash, narcotics, guns, cell phones,

money-counting equipment, as well as shipping labels and products.            The government

intends to introduce evidence obtained from these search warrants.



       One of the search warrants executed on June 26, 2014 was at Colin Montague’s

residence at 152 Bright Autumn Lane in Greece, New York. At that location, officers seized,

among other things, detailed ledgers of Montague’s drug trafficking activities. The ledgers

contain detailed information about Montague’s drug customers and workers, cocaine

amounts distributed, prices charged per kilogram, dollar quantities owed and paid.           In

addition to the detailed records of the cocaine transactions, Montague’s ledgers contained

calculations identifying amounts paid or owed to members of the Montague drug trafficking

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organization. The government intends to offer these ledgers, as well as testimony from drug

customers as well as members of the organization listed in the ledgers. The ledgers reflect

that during the period from September 12, 2013 to February 2014 alone, Montague distributed

approximately 280 kilograms of cocaine.



       The government also intends to offer proof of significant events which occurred during

the conspiracy time period but preceded the investigation. For example, in January 2013,

Montague and over a half dozen members of the organization conducted a meeting at the

Ritz Carlton in Atlanta, Georgia, to discuss and plan how to make the drug operations run

more smoothly. The government will also offer proof of law enforcement seizures of drug

proceeds during the conspiracy from co-conspirators Alyssa Sprague ($143,000 in 2012) and

Jermaine Swaby ($51,860 in 2008 and $36,132 in 2013).



            OVERVIEW OF MONEY LAUNDERING CHARGES


       As a result of the substantial income Montague generated from the long-standing

operation of this continuing criminal enterprise which he supervised, Montague needed a way

to conceal his ill-gotten gains. In 2007, Montague started a real estate business named

Montague Enterprises, Inc. (MEI). MEI is a C corporation, and Colin Montague is 100

percent owner of MEI. New York Secretary of State records show that he is also the Chief

Executive Officer of the corporation and that his former residence at 152 Bright Autumn Lane

is identified as the Principal Executive Office. Beginning in October 2007 and continuing

through June 2014, MEI purchased approximately 47 residential properties in Rochester and


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Cleveland, Ohio. During the same period, MEI sold approximately 12 of those properties.

By June 2014, MEI owned 35 properties.



       The government will offer bank records along with witness testimony and summary

exhibits 1 for bank accounts in the name of Colin Montague and MEI for the period from

September 2007 to June 2014. The records show that for the period from September 2007 to

June 2014, a total of $5,441,455 was deposited into the accounts. Of this amount, $2,007,520

was via cash deposits; and $759,304 was via deposits in money orders.



       Additionally, the government has made a conservative calculation of the amount of

deposits into these accounts, which cannot be credibly explained as rents, proceeds for sales

of houses or transfers among the various accounts (unexplained wealth). The estimate of

rental income used was over $982,000; the sales proceeds for the properties sold during the

period in question equals $974,100; and the total amount of inter-fund transfers equals

$638,292.    When you subtract these amounts from the total deposits, an extremely

conservative calculation of unexplained wealth equals over $2.8 million.



       Montague also laundered drug proceeds by use of money orders.                  Cooperating

witnesses, including employees of MEI, will testify that Montague and several of his co-

conspirators (Shawn Bernard, Charlton Osbourne and Rachel Vail) would regularly hand

over to Montague’s workers thousands of dollars in cash and instruct the workers to buy




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  The bank records, as well as spreadsheets containing the account information for the various bank
accounts, were provided to the defense in October 2017.
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money orders with the cash. Bernard and Osbourne took drug cash proceeds and gave them

to workers including Lemuel Jones and Michael Mosgrove with instructions to go buy money

orders at post offices and other locations that sold money orders. Blank money orders were

filled in with fictitious payor information and stamped with MEI as the payee. The purchased

money orders would then be deposited in MEI’s accounts or used to pay for other expenses

of MEI. For example, closing records for at least one of the properties show that MEI used

thousands of dollars in money orders to pay for the purchase of that property. Workers

would write in the memo line of the money orders fake information such as “siding,” “deck

repair,” etc. The bank records show that numerous money orders containing these types of

notations were deposited into MEI’s accounts, and witnesses will identify examples of them.



       Large sums of cash were also laundered through MEI. For example, there will be

testimony that thousands of dollars in drug proceeds were given to Clive Hamilton to pay for

MEI expenses including repairs and maintenance on houses, and that large stacks of money

were delivered to the MEI office to be deposited in the bank accounts. This is consistent with

the contractor account at Home Depot held by Montague Enterprises and Clive Hamilton.

Records from Home Depot reflect that during the two-year period from May 2012 to June

2014, a total of approximately $86,543 in purchases was made under that Montague

Enterprises/Clive Hamilton contractor account at Home Depot.               Of this amount,

approximately $51,747 was in cash.


       Montague would also give large sums of cash to others and have them purchase a bank

check or cashier’s check, which Montague then deposited into MEI accounts. Montague

would pay a fee of 3% - 4% for this service.
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         MEI would issue payroll checks to individuals as if they were employees of MEI even

though they never actually worked for MEI.



         Counts 4 through 9 charge six substantive money laundering counts under 18 U.S.C.

§ 1957. Each count alleges a particular financial transaction wherein money was transferred

out of MEI’s bank account at Chase and paid to the IOLA account of James Marino, Esq.,

to pay for the purchase of a particular property. The transfer of money is established via

records for the Chase Bank account as well as the closing files for the particular real estate

transactions.



         To assist the jury in understanding the money laundering evidence in this case, the

government will offer the testimony of IRS Special Agent Ryan Talbot and financial analyst

Scott Deming. Special Agent Talbot will testify as a money laundering expert and briefly

explain what money laundering is and describe the various methods of laundering money

utilized by drug dealers. Scott Deming, a financial analyst employed by the U.S. Attorney’s

Office, will testify concerning summary charts of the bank accounts of MEI and Colin

Montague and identify the bases underlying the unexplained wealth calculation set forth

above.




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                               TYPES OF EVIDENCE


A.     ACCOMPLICE OR CO-DEFENDANT WITNESS TESTIMONY


       The government anticipates calling numerous cooperating witnesses who will describe

their involvement with others in the narcotics conspiracy and/or money laundering activities.

Nearly all of them were charged in the original complaint, or in one of the indictments

returned in the case. While on the stand, they will review certain phone calls that will be

played and/or text messages displayed for the jury, identify the participants to the

conversation, certify the accuracy of the transcripts and provide any required explanation and

context for the calls. They will also be asked to view various video clips that will be played

before the jury, identify the individuals depicted in the photographs or videos, and provide

any required explanation of the activities. They will be asked to identify seized evidence,

including cell phones, documents, photographs, and contraband.



B.     LAW ENFORCEMENT TESTIMONY


       The government intends to call numerous law enforcement witnesses to provide

testimony regarding, among other things: (a) the wiretap; (b) surveillance; (c) search warrant

results, including downloads of seized cell phones; and (d) the arrests of the defendants and

co-conspirators.




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C.     BUSINESS RECORDS AND SUMMARIES


       The government may offer voluminous business records pursuant to F.R.E. 803(6),

including bank records, Home Depot contractor records, MEI records, real estate closing

records, rental car records, and SYTEC records concerning wiretap data from cell phones

utilized by conspirators. To assist the jury in evaluating the evidence, the government may

introduce summary or demonstrative charts of these records pursuant to F.R.E. 1006.



D.     EXPERT TESTIMONY


       Absent a stipulation, the government will call chemist Babita Joseph with the Drug

Enforcement Administration and Nicole Flaitz with the Monroe County Crime Laboratory

to testify regarding the chemical analysis of cocaine that was seized in this case on June 26,

2014. Drug seizures include:

       (a)    2010 Nissan Altima (Vidal Smith);
       (b)    103 Canton Street (Joey Esposito);
       (c)    127 Campbell Park (Alyssa Sprague);
       (d)    369 Estall Road (Collin Thomas); and
       (e)    154 Park Avenue, Apartment #3 (Lemuel Jones)


       As noted above, the government will also offer the testimony of IRS Special Agent

Ryan Talbot who will testify generally concerning money laundering, as well as the methods

and practices of drug dealers used to launder money. Agent Talbot has not participated in

the investigation of this case and the government will not ask Agent Talbot to express an

opinion about the evidence in this case. Rather, he will be offered solely to explain money

laundering in general to assist the jury in understanding such evidence, which will be
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complicated and beyond the ken of the average juror. See United States v. Nektalov, 2004

WL 1469487 at *3-*4 (S.D.N.Y. 2004) (admitting expert testimony of IRS agent about money

laundering techniques, the “regulatory framework that exists to combat” such techniques, and

to “describe some of the ways money launderers attempt to avoid this framework[.]”; see also

United States v. Dinero Express, Inc., 57 Fed. Appx. 456, 460 (2d Cir. 2002) (upholding

expert testimony by FBI agent about the connections between drug trafficking and money

laundering); United States v. Fernando-Jimenez, 2005 WL 729490 at *7 (S.D.N.Y. 2005)

(permitting money laundering expert to testify “how money laundering operations develop

and how they are carried out” without offering an opinion as to the defendant’s guilt or role

in the money laundering operation).




                               EVIDENTIARY ISSUES


A.     EVIDENCE OF UNCHARGED CRIMINAL CONDUCT COMMITTED
       PRIOR TO THE TIME OF THE CONSPIRACY RELATING TO THE
       FORMATION OF THE CONSPIRACY


       The government anticipates that some cooperating witnesses will provide historical

testimony regarding the formation of the conspiracy charged in the Indictment.           That

evidence may include testimony of certain events and circumstances which occurred prior to

the date charged in the Indictment, that is 2008. Some of the witnesses will generally discuss

dealing drugs with Montague prior to 2008. Without that background and understanding,

the jury is otherwise left to guess how the narcotics conspiracy (for which Montague presently




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stands charged) was formed and maintained, and how such witnesses and others became

members of the operation.



       While the admission of these so-called prior “bad acts” may appear to fall under FRE

404(b), this evidence is not considered 404(b) at all, but rather it is admissible as “direct

evidence of the existence of the conspiracy” between Montague and others. United States v.

Thai, 29 F.3d 785 (2d Cir. 1994); United States v. Towne, 870 F.2d 880, 886 (2d Cir. 1989).

In fact, the Second Circuit has held repeatedly that it is within the Court=s discretion to admit

evidence of prior acts to inform the jury of the background of the conspiracy charged, in order

to help explain how the illegal relationship between participants in the crime developed, or to

explain the mutual trust that existed between co-conspirators. United States v. Rosa, 11 F.3d

315, 333-334 (2d Cir. 1993); see also United States v. Diaz, 176 F.3d 52, 79 (2d Cir. 1998)

(evidence of uncharged conduct admitted because it informed the jury how the Latin Kings=

racketeering and drug conspiracies evolved, and how illegal relationships and mutual trust

developed between co-conspirators); United States v. Brennan, 798 F.2d 581, 589 (2d Cir.

1986)(other acts evidence properly admitted because A[w]ithout [it] the jury would have had

a truncated and possibly confusing view of the respective role played by [the co-conspirators]

and of the basis for the trust between [them]@).



       In United States v. Diaz, 176 F.3d 52 (2d Cir. 1999), the government sought to

introduce evidence of uncharged prior unlawful conduct that were committed by the

defendants and the government witnesses. The district court admitted the evidence over

objection, it was relevant to prove the existence and nature of the conspiracy charged. The

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Court of Appeals affirmed, stating that “where, as in this case, ‘the indictment contains a

conspiracy charge, uncharged acts may be admissible as direct evidence of the conspiracy

itself.’” Id. at 79; citing United States v. Miller, 116 F.3d 641, 682 (2d Cir. 1997). The

testimony of prior narcotics dealings with the defendants was admitted because it “informed

the jury how the [conspiracy] evolved, and how illegal relationships and mutual trust

developed between the co-conspirators.” Id., at 79-80.



       In United States v. LaSanta, 978 F.2d 1300 (2d Cir. 1992), the defendants challenged

the admission of testimony by government witness “Crespo” concerning his involvement with

the two defendants in drug transaction several years prior to the commencement of the charged

conspiracy. There, the court did evaluate the issue under 404(b), and still permitted the

testimony. The Second Circuit affirmed the trial court’s ruling, stating “[o]ur decisions

specifically approve the use of evidence of a defendant=s prior narcotics dealings to delineate

the background details of a conspiracy - to ‘inform the jury of the background of the

conspiracy charged, to complete the story of the crimes charged, and to help explain to the

jury how the illegal relationship between the participants in the crime developed.’” Id., at

1307; citing United States v. Pitre, 960 F.2d 112, 1119 (2d Cir. 1992).



       In sum, whether the Court chooses to evaluate the issue in the context of a 404(b)

application, or whether the Court determines that it is direct evidence, the result should be

the same. Since the government would be offering the information as background to the

crime charged, it is admissible in the government=s direct case. The government will not

belabor such testimony, but would prove it only to the extent and for the reasons set forth

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above.     The government does agree that a cautionary instruction may be appropriate,

advising the jurors that the defendant is on trial solely for the charges contained in the

Indictment, and nothing more.



B.       CO-CONSPIRATOR STATEMENTS



         The government intends to elicit testimony from various cooperating witnesses

regarding conversations they had involving the defendants and/or other co-conspirators.

The conversations in which a defendant was a participant are admissible under Fed. R. Evid.

801(d)(2)(A) as admissions by a party opponent.



         The conversations involving other co-conspirators are likewise admissible under Fed.

R. Evid. 801(d)(2)(E). That rule permits the conditional admission of out of court statements

of co-conspirators as long as the government ultimately establishes by a preponderance of the

evidence that there was a conspiracy, that both the declarant and the party against whom the

statements are offered were members of the conspiracy, and that the statements were made

during, and in furtherance of, the conspiracy. United States v. Tellier, 83 F.3d 578, 580 (2d

Cir. 1996); United States v. Tracy, 12 F.3d 1186, 1199 (2d Cir. 1993).



         With respect to the first two requirements, the Court may consider the hearsay

statements themselves, Bourjaily v. United States, 483 U.S. 171, 177-78 (1987), although the

requisite findings regarding the existence of, and membership in, the conspiracy cannot be


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based upon the statements alone. Tellier, 83 F.3d at 580; Fed. R. Evid. 801(d)(2)(E). With

respect to the second requirement, “[t]he standard for independent proof of participation [in

the conspiracy] is ‘lower than the standard of evidence sufficient to submit a charge of

conspiracy to the jury’ . . . and the proof may be ‘totally circumstantial.’” United States v.

Cicale, 691 F.2d 95, 103 (2d Cir. 1982). See also United States v. Terry, 702 F.2d 299, 320

(2d Cir. 1983). “[A]ll that is required . . . is a ‘showing of a likelihood of an illicit association

between the declarant and the defendant.’” Cicale, 691 F.2d at 103 (citation omitted). See

also Terry, 702 F.2d at 320.



       With respect to the third criteria that the statement at issue be made in furtherance of

the conspiracy, that requirement is satisfied if the statement is designed to promote or facilitate

the achievement of the conspiracy’s goals. United States v. Rivera, 22 F.3d 430, 436 (2d Cir.

1994). In this regard, statements made to a non-conspirator can still be admitted under Rule

801(d)(2)(E) if the purpose of making those statements was to facilitate the conspiracy’s

objectives. Id.; see also, United States v. Minicone, 960 F.2d 1099, 1110 (2d Cir. 1992).

Furthermore, under the doctrine of completeness, portions of conversations which are not in

furtherance of the conspiracy may still be admitted if they are necessary to make sense of the

admissible portion of the conversation. United States v. Hong, 917 F.2d 691, 701 (2d Cir.

1990); United States v. Salerno, 868 F.2d 524, 536 (2d Cir. 1989); United States v. Nersesian,

824 F.2d 1294, 1325 (2d Cir. 1987); United States v. Grant, 462 F.2d 28, 33-34 (2d Cir. 1972).




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       In this case, the proof at trial will demonstrate that Montague was a member of the

continuing criminal enterprise, narcotics conspiracy, and money laundering conspiracy

charged in Counts 1 through 3, respectively, and that defendants Palmer and Burton were

members of the narcotics conspiracy for which they stand charged in Count 2. With respect

to co-conspirator statements, the government will elicit testimony from various cooperating

co-conspirators regarding their discussions with their associates which pertained to, among

other illicit topics, the operation of the charged conspiracy, the planning of various narcotics

transactions, the respective roles and tasks of the various co-conspirators, including the

defendants, and payment for work done on behalf of the conspiracy, among other topics.

There can be little question that such statements “further[ed] the ends of the conspiracy” and

are therefore admissible under Rule 801(d)(2)(E). See, e.g., Tracy, supra, 12 F.3d at 1201

(“in furtherance” requirement met where co-conspirator “prompt[s] the listener -- who need

not be a co-conspirator -- to respond in a way that promotes or facilitates the carrying out of

a criminal activity”); United States v. Rastelli, 870 F.2d 822, 837 (2d Cir. 1983) (“current

status of the conspiracy” and "the identity and activities of co-conspirators” are also made in

furtherance of the conspiracy); United States v. Blackmon, 839 F.2d 900, 912-13 (2d Cir.

1988); United States v. Handy, 668 F.2d 407, 408 (8th Cir. 1982) (statement of one co-

conspirator identifying another is in furtherance of conspiracy); United States v. Combindo

Valencia, 609 F.2d 603, 632 (2d Cir. 1979) (statement regarding “source of supply” for

narcotics made in furtherance of conspiracy).




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C.     FEDERAL RULE OF EVIDENCE 609


       1.     Cross-Examination of Government Witnesses


       The defense has been provided with the criminal records for each of the government’s

witnesses. Defense counsel are reminded that the impeachment of witnesses with prior

convictions is governed by F.R.E. 609.


       Pursuant to Rule 609(a)(1), felony convictions not more than 10 years old (calculated

from release from imprisonment) are generally admissible for impeachment purposes.


       Pursuant to Rule 609(a)(2), however, misdemeanor convictions, also not more than

ten years old, are admissible only if they “involved dishonesty or false statement.”

Misdemeanor convictions are usable for impeachment purposes only if they “bear directly on

the likelihood that the [witness] will testify truthfully.” United States v. Hayes, 553 F.2d

824, 827 (2d Cir. 1977). Such convictions must be in the nature of “perjury or subornation

of perjury, false statement, criminal fraud, embezzlement, or false pretense” to be admissible

for impeachment purposes. Id.


       Misdemeanor convictions or arrests relating to petit larceny are not probative of

truthfulness and therefore the defendants should not be allowed to inquire into such

convictions and arrests. Petit larceny is a misdemeanor, not a felony, and thereby does not

fall within the scope of Federal Rule of Evidence 609(a)(1), which generally permits prior

felonies to be used to impeach witnesses. Rule 609(a)(2) is also inapplicable because, as the

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Second Circuit and other courts have held, petit larceny is not a crime which “involve[s]

dishonesty or false statement.” Id. at 826 (use of the second prong of Fed. R. Evid. 609(a) is

restricted to convictions that bear directly on the likelihood that the defendant will testify

truthfully . . . crimes of stealth, such as burglary, or petit larceny, do not come within this

clause.); see also Martin v. National Railroad Passenger Corp., 1998 WL 575183 (S.D.N.Y.

1998) (petit larceny is not, per se, a crime involving deceit, dishonesty, or fraud); Daniels v.

Loizzo, 986 F. Supp. 245, 248 (S.D.N.Y. 1997) (crimes of force such as armed robbery or

assault, or crimes of stealth, such as burglary or petit larceny, do not come within Fed. R.

Evid. 609(a)(2)).


       Defendants should similarly not be permitted to inquire about misdemeanor

convictions, arrests or allegations relating to force or violence, as such convictions or conduct

are not probative of truthfulness. See Hayes, 553 F.2d at 827 (“The use of the second prong

of Rule 609(a) is thus restricted to convictions that bear directly on the likelihood that the

defendant will testify truthfully (and not merely on whether he has a propensity to commit

crimes). It follows that crimes of force, such as armed robbery or assault, or crimes of stealth,

such as burglary, or petit larceny, do not come within this clause.”) (citations omitted); United

States v. Cudlitz, 72 F.3d 992, 996 (1st Cir. 1996); United States v. Fox, 473 F.2d 131, 135

(D.C. Cir. 1972); United States v. Sampol, 636 F.2d 621, 656 n. 21 (D.C. Cir. 1980); United

States v. Page, 808 F.2d 723, 730 (10th Cir. 1987); Daniels v. Loizzo, 986 F. Supp. 245, 248

(S.D.N.Y. 1997) (crimes of force such as armed robbery or assault do not come within Fed.

R. Evid. 609(a)(2)).



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       Likewise, a witness’s past instances of prostitution are not probative of truthfulness:

       Prostitution is not a crime involving dishonesty or deceit, such that a prior
       prostitution conviction might suggest that the victim has a history of lying and
       that his or her testimony may therefore be false. Cf. Fed. R. Evid. 609(a)(2). A
       prior prostitution conviction thus has relatively little impeachment value. On
       the other hand, in addition to possibly serving to harass or embarrass the victim,
       impeaching a victim in a prostitution case with the victim's prior prostitution
       conviction has the potential to unnecessarily confuse the jury by suggesting
       that, because prostitution is illegal, the victims' testimony is inherently suspect
       or that the defendant's alleged conduct is less culpable.

United States v. Thompson, 178 F. Supp. 3d 86, 94 (W.D.N.Y. 2016).


       2.     Cross-Examination of Defendants


       At this time, the government does not intend to cross examine any of the defendants

about their prior convictions. Should any of the defendants testify and the government believe

such testimony has opened the door to impeachment by a prior conviction, the government

will raise the matter with the Court and counsel prior to any inquiry.


DATED:        Rochester, New York, March 5, 2018.

                                            JAMES P. KENNEDY, JR.
                                            United States Attorney
                                            Western District of New York


                                     By:    s/ROBERT A. MARANGOLA
                                            BRETT A. HARVEY
                                            Assistant United States Attorneys
                                            United States Attorney=s Office
                                            100 State Street, Suite 500
                                            Rochester, New York 14614
                                            585/263-6760
                                            Robert.Marangola@usdoj.gov



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